             Case: 4:20-cv-00165-MPM-DAS Doc #: 94-1 Filed: 04/12/23 1 of 3 PageID #: 343


Bethany Tarpley

From:                              Rosharwin Williams <rosharwin.williams@coahomacountyms.gov>
Sent:                              Tuesday, April 11, 2023 8:03 PM
To:                                Bethany Tarpley
Cc:                                'Brenda Mitchell (bfmitchell@co.bolivar.ms.us)'; 11th District DA Coahoma County
Subject:                           RE: Trekevious Hayes / Coahoma County


Bethany,

We usually wait until the issues with the deputies are disposed of through the officer-involved unit with the AG’s
Office. You can imagine that if the AG determines the deputies should be held criminally responsible how that will
impact the defendant on his criminal charges. I am not aware as to whether those deputies have been cleared by the
AG’s Office—nor why it is taking them so long.

Rosharwin

From: Bethany Tarpley <btarpley@jlpalaw.com>
Sent: Tuesday, April 11, 2023 1:17 PM
To: Rosharwin Williams <rosharwin.williams@coahomacountyms.gov>
Subject: RE: Trekevious Hayes / Coahoma County

Rosharwin-

Do you know the status of the criminal charges against Trekevious Hayes? He shot at four Coahoma County deputies.

He then filed a lawsuit against Coahoma County and the same deputies. We got a stay based on his pending criminal
charges- but the Court now wants to lift the stay because the Plaintiffs say he has not been indicted.

Do you know anything about his status?

Thank you,

Sincerely,

Bethany A. Tarpley
jacks | griffith | luciano, p.a.
P. O. Box 1209
150 North Sharpe Avenue
Cleveland, MS 38732
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              Case: 4:20-cv-00165-MPM-DAS Doc #: 94-1 Filed: 04/12/23 2 of 3 PageID #: 344

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From: Rosharwin Williams <rosharwin.williams@coahomacountyms.gov>
Sent: Monday, June 13, 2022 10:31 AM
To: Vicky Smith <VSmith@jlpalaw.com>; Brenda F Mitchell <bfmitchell@bellsouth.net>; rosharwin@gmail.com
Subject: RE: Coahoma County Case

It’s my understanding that this case was submitted to the AG’s Office and if it is to be prosecuted it will be with them. I
am not certain if they have been cleared—but with it being 2years or more old, they probably have been.

From: Vicky Smith <VSmith@jlpalaw.com>
Sent: Monday, June 13, 2022 9:30 AM
To: Rosharwin Williams <rosharwin.williams@coahomacountyms.gov>; Brenda F Mitchell <bfmitchell@bellsouth.net>;
rosharwin@gmail.com
Subject: RE: Coahoma County Case

City of Clarksdale; Coahoma County; Coahoma County Sheriff’s Department; Chief Leon Williams; Sgt. Marcus Cohen;
Deputy Eddie Earl; Deputy Eric Bilbro.

From: Rosharwin Williams <rosharwin.williams@coahomacountyms.gov>
Sent: Monday, June 13, 2022 9:28 AM
To: Vicky Smith <VSmith@jlpalaw.com>; Brenda F Mitchell <bfmitchell@bellsouth.net>; rosharwin@gmail.com
Subject: RE: Coahoma County Case

If this is an officer-involved shooting, it may have been referred to the AG’s Office. Who are all of the named co-
defendants?

From: Vicky Smith <VSmith@jlpalaw.com>
Sent: Monday, June 13, 2022 9:22 AM
To: Brenda F Mitchell <bfmitchell@bellsouth.net>; rosharwin@gmail.com; Rosharwin Williams
<rosharwin.williams@coahomacountyms.gov>
Subject: Coahoma County Case

Hi Brenda:

Hope you have been doing well so far this year. We have a civil case representing the Coahoma County Sheriff’s
Department and the County, and Trekevious Hayes is the plaintiff. The federal civil case is stayed until his criminal case
gets a disposition. I can’t find anything that shows he’s been indicted yet. Can you give me a status on this case please?

Thank you,
Vicky Smith
Paralegal

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P. O. Box 1209
150 North Sharpe Avenue
Cleveland, MS 38732
                                                             2
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                                   EXHIBIT A - EMAIL CORRESPONDENCE
